         Case 2:16-cv-02012-JEO Document 22 Filed 12/20/17 Page 1 of 1                      FILED
                                                                                   2017 Dec-20 AM 10:33
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

STACEY PRESLEY,                  )
                                 )
         Plaintiff,              )
                                 )
v.                               )                  Civil Action Number:
                                 )                  2:16-cv-2012-JEO
JEFFERSON CAPITAL SYSTEMS, LLC., )
                                 )
         Defendant.              )

                                      ORDER

       A joint stipulation of dismissal with prejudice has been filed, signed by

counsel for all parties who have appeared. (Doc. 21). Accordingly, this action is

DISMISSED WITH PREJUDICE, with the parties to bear their own fees, costs,

and expenses. See FED. R. CIV. P. 41(a)(1)(A)(ii). The Clerk is DIRECTED to

close the file.

       DONE, this 20th day of December, 2017.



                                       ___________________________
                                       JOHN E. OTT
                                       Chief United States Magistrate Judge
